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18                        UNITED STATES DISTRICT COURT
19                      CENTRAL DISTRICT OF CALIFORNIA
20   DECKERS OUTDOOR CORPORATION, a
     Delaware Corporation,                       Case No.: 2:20-cv-09521-FLA-Ex
21
                             Plaintiff,
22                                               STIPULATED PROTECTIVE
           vs.                                   ORDER
23
     WALMART, INC., a Delaware Corporation;
24   and DOES 1-10, inclusive,
25                           Defendants.
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1             Plaintiff Deckers Outdoor Corporation (“Plaintiff” or “Deckers”) and
2    Defendant Walmart Inc. (“Defendant” or “Walmart”) (collectively the “Parties”), by
3    and through their respective attorneys of record, hereby stipulate to the following
4    Protective Order:
5    I.      PURPOSES AND LIMITATIONS
6          Discovery in this action is likely to involve production of confidential,
7    proprietary, or private information for which special protection from public
8    disclosure and from use for any purpose other than prosecuting this litigation may
9    be warranted. Accordingly, the parties hereby stipulate to and petition the Court to
10   enter the following Stipulated Protective Order (“Order’). The Parties acknowledge
11   that this Order does not confer blanket protections on all disclosures or responses to
12   discovery and that the protection it affords from public disclosure and use extends
13   only to the limited information or items that are entitled to confidential treatment
14   under the applicable legal principles. The Parties further acknowledge that this
15   Order does not entitle them to file confidential information under seal; Civil Local
16   Rule 79-5 sets forth the procedures that must be followed and the standards that will
17   be applied when a party seeks permission from the court to file material under seal.
18   II.     GOOD CAUSE STATEMENT
19           This action is likely to involve trade secrets, customer and pricing lists and
20   other valuable research, development, commercial, financial, technical and/or
21   proprietary information for which special protection from public disclosure and
22   from use for any purpose other than prosecution of this action is warranted. Such
23   confidential and proprietary materials and information consist of, among other
24   things, confidential business or financial information, information regarding
25   confidential business practices, or other confidential research, development, or
26   commercial information (including information implicating privacy rights of third
27   parties), information otherwise generally unavailable to the public, or which may be
28   privileged or otherwise protected from disclosure under state or federal statutes,
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1    court rules, case decisions, or common law. Accordingly, to expedite the flow of
2    information, to facilitate the prompt resolution of disputes over confidentiality of
3    discovery materials, to adequately protect information the Parties are entitled to
4    keep confidential, to ensure that the Parties are permitted reasonable necessary uses
5    of such material in preparation for and in the conduct of trial, to address their
6    handling at the end of the litigation, and serve the ends of justice, a protective order
7    for such information is justified in this matter. It is the intent of the Parties that
8    information will not be designated as confidential for tactical reasons and that
9    nothing be so designated without a good faith belief that it has been maintained in a
10   confidential, non-public manner, and there is good cause why it should not be part
11   of the public record of this case.
12   III.   DEFINITIONS
13          A.    Action: This pending federal lawsuit.
14          B.    Challenging Party: A Party or Non-Party that challenges the
15          designation of information or items under this Order.
16          C.    “CONFIDENTIAL” Information or Items: Information (regardless of
17          how it is generated, stored or maintained) or tangible things that qualify for
18          protection under Federal Rule of Civil Procedure 26(c), and as specified above
19          in the Good Cause Statement.
20          D.    “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY”
21          Information or Items: Information that contains or discloses information that
22          the Designating Party, in good faith, believes to be extremely commercially
23          sensitive or would provide a competitive advantage to competitors or
24          compromise or jeopardize the Designating Party’s business interests if
25          disclosed, including, but not limited to, information containing corporate trade
26          secrets, nonpublic research, cost data, pricing formulas, inventory management
27          programs, and other financial, sales or business information not known to the
28          public; information obtained from a Non-Party pursuant to a non-disclosure
                                                 -3-
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1        agreement; and customer-related data to be subject to federal, state or foreign
2        data protection laws or other privacy obligations.
3        E.     Counsel: Outside Counsel of Record and In-House Counsel (as well as
4        their support staff).
5        F.     Designating Party: A Party or Non-Party that designates information or
6        items that it produces in disclosures or in responses to discovery as
7        “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES
8        ONLY”.
9        G.     Disclosure or Discovery Material: All items or information, regardless
10       of the medium or manner in which it is generated, stored, or maintained
11       (including, among other things, testimony, transcripts, and tangible things),
12       that are produced or generated in disclosures or responses to discovery in this
13       matter.
14       H.     Expert: A person with specialized knowledge or experience in a matter
15       pertinent to the Action who has been retained by a Party or its counsel to serve
16       as an expert witness or as a consultant in this Action.
17       I.     In-House Counsel: Attorneys and legal department staff members who
18       are employees of a party to this Action. In-House Counsel does not include
19       Outside Counsel of Record or any other outside counsel.
20       J.     Non-Party: Any natural person, partnership, corporation, association, or
21       other legal entity not named as a party to this Action.
22       K.     Outside Counsel of Record: Attorneys who are not employees of a
23       party to this Action but are retained to represent or advise a party to this
24       Action and have appeared in this Action on behalf of that party or are affiliated
25       with a law firm which has appeared on behalf of that party and includes
26       support staff.
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1         L.     Party: Any party to this Action, including all of its officers, directors,
2         employees, consultants, retained experts, and Outside Counsel of Record (and
3         their support staffs).
4         M.     Producing Party: A Party or Non-Party that produces Disclosure or
5         Discovery Material in this Action.
6         N.     Professional Vendors: Persons or entities that provide litigation support
7         services (e.g., photocopying, videotaping, translating, preparing exhibits or
8         demonstrations, and organizing, storing, or retrieving data in any form or
9         medium) and their employees and subcontractors.
10        O.     Protected Material: Any Disclosure or Discovery Material that is
11        designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
12        ATTORNEY’S EYES ONLY.”
13        P.     Receiving Party: A Party that receives Disclosure or Discovery
14        Material from a Producing Party.
15   IV. SCOPE
16         The protections conferred by this Order cover not only Protected Material (as
17   defined above), but also (1) any information copied or extracted from Protected
18   Material; (2) all copies, excerpts, summaries, or compilations of Protected Material;
19   and (3) any testimony, conversations, or presentations by Parties or their Counsel
20   that might reveal Protected Material.
21         Any use of Protected Material at trial shall be governed by the orders of the
22   trial judge. This Order does not govern the use of Protected Material at trial.
23   V.   DURATION
24         Even after final disposition of this Action, the confidentiality obligations
25   imposed by this Order shall remain in effect until a Designating Party agrees
26   otherwise in writing or a court order otherwise directs. Final disposition shall be
27   deemed to be (1) dismissal of all claims and defenses in this Action, with or without
28   prejudice; or (2) final judgment herein after the completion and exhaustion of all
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1    appeals, rehearings, remands, trials, or reviews of this Action, including the time
2    limits for filing any motions or applications for extension of time pursuant to
3    applicable law.
4    VI. DESIGNATING PROTECTED MATERIAL
5         A.     Exercise of Restraint and Care in Designating Material for Protection
6          Each Party or Non-Party that designates information or items for protection
7    under this Order must take care to limit any such designation to specific material
8    that qualifies under the appropriate standards. The Designating Party must
9    designate for protection only those parts of material, documents, items, or oral or
10   written communications that qualify so that other portions of the material,
11   documents, items, or communications for which protection is not warranted are not
12   swept unjustifiably within the ambit of this Order.
13         Mass, indiscriminate, or routinized designations are prohibited. Designations
14   that are shown to be clearly unjustified or that have been made for an improper
15   purpose (e.g., to unnecessarily encumber the case development process or to impose
16   unnecessary expenses and burdens on other parties) may expose the Designating
17   Party to sanctions.
18         If it comes to a Designating Party’s attention that information or items that it
19   designated for protection do not qualify for protection, that Designating Party must
20   promptly notify all other Parties that it is withdrawing the inapplicable designation.
21        B.     Manner and Timing of Designations
22         Except as otherwise provided in this Order, or as otherwise stipulated or
23   ordered, Disclosure or Discovery Material that qualifies for protection under this
24   Order must be clearly so designated before the material is disclosed or produced.
25         Designation in conformity with this Order requires the following:
26               a.    For information in documentary form (e.g., paper or electronic
27               documents, but excluding transcripts of depositions or other pretrial or
28               trial proceedings), that the Producing Party affix at a minimum, the
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1              legend “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
2              ATTORNEY’S EYES ONLY” (hereinafter “CONFIDENTIAL
3              Legend”), to each page that contains protected material. If only a
4              portion or portions of the material on a page qualifies for protection, the
5              Producing Party also must clearly identify the protected portion(s) (e.g.,
6              by making appropriate markings in the margins).
7              b.    A Party or Non-Party that makes original documents available for
8              inspection need not designate them for protection until after the
9              inspecting Party has indicated which documents it would like copied
10             and produced. During the inspection and before the designation, all of
11             the material made available for inspection shall be deemed “HIGHLY
12             CONFIDENTIAL – ATTORNEY’S EYES ONLY.” After the
13             inspecting Party has identified the documents it wants copied and
14             produced, the Producing Party must determine which documents, or
15             portions thereof, qualify for protection under this Order. Then, before
16             producing the specified documents, the Producing Party must affix the
17             CONFIDENTIAL Legend to each page that contains Protected Material.
18             If only a portion or portions of the material on a page qualifies for
19             protection, the Producing Party also must clearly identify the protected
20             portion(s) (e.g., by making appropriate markings in the margins).
21             c.    For testimony given in depositions, that the Designating Party
22             identify the Disclosure or Discovery Material on the record, before the
23             close of the deposition all protected testimony. Failure of counsel to
24             designate testimony or exhibits at a deposition, however, shall not waive
25             the protected status of the testimony or exhibits. Counsel may designate
26             specific testimony or exhibits as Protected Material within fifteen (15)
27             calendar days after receiving the transcript of the deposition or fifteen
28             (15) calendar days after the date on which this Order becomes effective,
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1              whichever occurs later. Counsel may agree on the record during the
2              deposition that the testimony shall be considered and treated as
3              “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY” during
4              the pendency of this fifteen (15) calendars day period should this be
5              necessary. If counsel for the deponent or Party fails to designate the
6              transcript or exhibits as Protected Material within the above-described
7              fifteen-day period, any Party shall be entitled to treat the transcript or
8              exhibits as non-Protected Material. For purposes of this Paragraph, this
9              Order shall be deemed effective on the date this stipulation is filed with
10             the Court. When material disclosed during a deposition is designated as
11             Protected Material at the time testimony is given, the reporter shall
12             separately transcribe those portions of the testimony so designated, shall
13             mark the face of the transcript with the appropriate designation, and
14             shall maintain that portion of the transcript or exhibits in separate files
15             marked to designate the confidentiality of their contents. The reporter
16             shall not file or lodge with the Court any Protected Material without
17             obtaining written consent from the Party who designated the material as
18             Protected Material. For convenience, if a deposition transcript or exhibit
19             contains repeated references to Protected Material which cannot
20             conveniently be segregated from non-confidential material, any Party
21             may request that the entire transcript or exhibit be maintained by the
22             reporter as Protected Material.
23             d.    For information produced in form other than document and for
24             any other tangible items, that the Producing Party affix in a prominent
25             place on the exterior of the container or containers in which the
26             information is stored the appropriate CONFIDENTIAL Legend. If only
27             a portion or portions of the information warrants protection, the
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1                 Producing Party, to the extent practicable, shall identify the protected
2                 portion(s).
3            C.   Inadvertent Failure to Designate
4            If timely corrected, an inadvertent failure to designate qualified information
5    or items does not, standing alone, waive the Designating Party’s right to secure
6    protection under this Order for such material. Upon timely correction of a
7    designation, the Receiving Party must make reasonable efforts to assure that the
8    material is treated in accordance with the provisions of this Order.
9    VII. CHALLENGING CONFIDENTIALITY DESIGNATIONS
10           A.   Timing of Challenges
11           Any Party or Non-Party may challenge a designation of confidentiality at any
12   time that is consistent with the Court’s Scheduling Order, the Local Rules, and, as
13   necessary, all relevant authority governing ex parte motion practice.
14           B.   Meet and Confer
15           The Challenging Party shall initiate the dispute resolution process under
16   Local Rule 37.1 et seq., except as required under the circumstances and in good
17   faith application of all relevant authority governing ex parte motion practice.
18           C.   Burden
19           The burden of persuasion in any such challenge proceeding shall be on the
20   Designating Party. Frivolous challenges, and those made for an improper purpose
21   (e.g., to harass or impose unnecessary expenses and burdens on other parties) may
22   expose the Challenging Party to sanctions. Unless the Designating Party has waived
23   or withdrawn the confidentiality designation, all parties shall continue to afford the
24   material in question the level of protection to which it is entitled under the
25   Designating Party’s designation until the Court rules on the challenge.
26   VIII.        ACCESS TO AND USE OF PROTECTED MATERIAL
27           A.   Basic Principles
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1          A Receiving Party may use Protected Material that is disclosed or produced
2    by another Party or by a Non-Party in connection with this Action only for
3    prosecuting, defending, or attempting to settle this Action. Such Protected Material
4    may be disclosed only to the categories of persons and under the conditions
5    described in this Order. When the Action has been terminated, a Receiving Party
6    must comply with the provisions of Section XIV (Final Disposition) below.
7          Protected Material must be stored and maintained by a Receiving Party at a
8    location and in a secure manner that ensures that access is limited to the persons
9    authorized under this Order.
10        B.     Disclosure of “CONFIDENTIAL” Information or Items
11         Unless otherwise ordered by the Court or permitted in writing by the
12   Designating Party, a Receiving Party may disclose any information or item
13   designated “CONFIDENTIAL” only to:
14               a.    The Receiving Party’s Outside Counsel of Record in this Action,
15                     as well as employees of said Outside Counsel of Record to whom
16                     it is reasonably necessary to disclose the information for this
17                     Action;
18               b.    The Receiving Party’s In-House Counsel;
19               c.    The officers, directors, and employees of the Receiving Party to
20                     whom disclosure is reasonably necessary for this Action;
21               d.    Experts (as defined in this Order) of the Receiving Party to whom
22               disclosure is reasonably necessary for this Action subject to the
23               Designating Party’s consent to be obtained pursuant to Paragraph
24               VIII.D. of this Order
25               e.    The Court and its personnel;
26               f.    Court reporters and their staff;
27               g.    Professional jury or trial consultants, mock jurors, and
28               Professional Vendors to whom disclosure is reasonably necessary or this
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1               Action and who have signed the “Acknowledgment and Agreement to
2               be Bound” attached as Exhibit A hereto;
3               h.    The author or recipient of a document containing the information
4               or a custodian or other person who otherwise possessed or knew the
5               information;
6               h.    Any person who is determined to have been an author and/or
7               previous recipient of the information designated as CONFIDENTIAL,
8               but is not identified on the face thereof, provided there is prior testimony
9               of actual authorship or receipt of the information; and
10              i.    Any mediator or settlement officer, and their supporting
11              personnel, mutually agreed upon by any of the parties engaged in
12              settlement discussions.
13        C.    Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES
14              ONLY” Information or Items
15         Unless otherwise ordered by the Court or permitted in writing by the
16   Designating Party, a Receiving Party may disclose any information or item
17   designated “HIGHLY CONFIDENTIAL – ATTORNEY’S EYES ONLY” only to:
18              a.    The Receiving Party’s Outside Counsel of Record in this Action,
19              as well as employees of said Outside Counsel of Record to whom it is
20              reasonably necessary to disclose the information for this Action;
21              b.    The Receiving Party’s In-House Counsel;
22              c.    Experts (as defined in this Order) of the Receiving Party to whom
23              disclosure is reasonably necessary for this Action subject to the
24              Designating Party’s consent to be obtained pursuant to Paragraph
25              VIII.D. of this Order;
26              d.    The Court and its personnel;
27              e.    Court reporters and their staff;
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1                f.     Professional jury or trial consultants, mock jurors, and
2                Professional Vendors to whom disclosure is reasonably necessary or this
3                Action and who have signed the “Acknowledgment and Agreement to
4                be Bound” attached as Exhibit A hereto;
5                g.     The author or recipient of a document containing the information
6                or a custodian or other person who otherwise possessed or knew the
7                information;
8                h.     Any person who is determined to have been an author and/or
9                previous recipient of the information designated as HIGHLY
10               CONFIDENTIAL – ATTORNEY’S EYES ONLY,
11               but is not identified on the face thereof, provided there is prior testimony
12               of actual authorship or receipt of the information; and
13               i.     Any mediator or settlement officer, and their supporting
14               personnel, mutually agreed upon by any of the parties engaged in
15               settlement discussions.
16         D.    Disclosure of Protected Material to Certain Experts.
17         If a Party wants to disclose another Party’s or a Non-Party’s Protected
18   Material to an Expert, disclosure shall be allowed only if the Party desiring such
19   disclosure obtains the Designating Party’s consent for disclosure pursuant to the
20   following procedure or a Court order:
21         (a) Notice of the name, address, telephone number and title or position of
22   such expert, a curriculum vitae for the expert, notice of the relevant professional or
23   employment-related relationship with a Party, a list of all other cases in which,
24   during the previous four years, the expert testified as an expert at trial or by
25   deposition, and a copy of the “Acknowledgment and Agreement to Be Bound”
26   (Exhibit A) signed by the expert, shall be served in writing by e-mail on counsel of
27   record for the Designating Party for such Party’s consent to disclosure of Protected
28   Material to such expert.
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1          (b) Consent to the disclosure shall not be unreasonably withheld, and shall be
2    granted or denied, by e-mail to all counsel of record in this Action, within seven (7)
3    days of receipt of the notice by e-mail. A failure to respond within that seven-day
4    period shall operate as consent.
5          (c) If any objection to disclosing Protected Material to such an identified
6    expert is made within that seven-day period, and that objection cannot be resolved
7    by agreement between the Party seeking disclosure and the Designating Party, the
8    Party seeking disclosure of the Protected Material may move the Court for an order
9    allowing such disclosure, in accordance with the procedures set forth in C.D. CAL.
10   LOCAL RULES 37-1 through 37-4.
11         (d) The parties further agree that an expert without percipient knowledge
12   whose identity is disclosed pursuant to this Paragraph cannot be deposed regarding
13   any subject related to this Action, unless the expert has been designated as a
14   testifying expert by the retaining party, and then in a manner consistent with the
15   Federal Rules of Civil Procedure governing expert discovery.
16   IX. PROTECTED MATERIAL SUPOENAED OR ORDERED PRODUCED
17        IN OTHER LITIGATION
18         If a Receiving Party is served with a subpoena or a court order issued in other
19   litigation that compels disclosure of any Protected Material of a Producing Party,
20   the Receiving Party must:
21               1.    Promptly notify in writing the Designating Party. Such
22               notification shall include a copy of the subpoena or court order;
23               2.    Promptly notify in writing the party who caused the subpoena or
24               order to issue in the other litigation that some or all of the material
25               covered by the subpoena or order is subject to this Order. Such
26               notification shall include a copy of this Order; and
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1                3.     Cooperate with respect to all reasonable procedures sought to be
2                pursued by the Designating Party whose Protected Material may be
3                affected.
4          If the Designating Party timely seeks a protective order, the Receiving Party
5    served with the subpoena or court order shall not produce any Protected Material of
6    the Designating Party before a determination by the Court from which the subpoena
7    or order issued, unless the Receiving Party has obtained the Designating Party’s
8    permission. The Designating Party shall bear the burden and expense of seeking
9    protection in that court of its Protected Material and nothing in these provisions
10   should be construed as authorizing or encouraging a Receiving Party in this Action
11   to disobey a lawful directive from another court.
12

13   XI. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
14         If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
15   Protected Material to any person or in any circumstance not authorized under this
16   Order, the Receiving Party must immediately (1) notify in writing the Designating
17   Party of the unauthorized disclosures, (2) use its best efforts to retrieve all
18   unauthorized copies of the Protected Material, (3) inform the person or persons to
19   whom unauthorized disclosures were made of all the terms of this Order, and (4)
20   request such person or persons to execute the “Acknowledgment and Agreement to
21   be Bound” that is attached hereto as Exhibit A.
22   XII. INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
23        PROTECTED MATERIAL
24        A. If a Receiving Party has reason to believe that a produced document or
25            other information may reasonably be subject to a claim of privilege, then
26            the Receiving Party shall immediately sequester the document or
27            information, cease using the document or information and cease using any
28            work product containing the information, and shall inform the Producing
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1                 Party of the beginning BATES number of the document or, if no BATES
2                 number is available, shall otherwise inform the Producing Party of the
3                 information.
4            B. When a Producing Party gives notice to Receiving Parties that certain
5                 inadvertently produced material is subject to a claim of privilege or other
6                 protection (a “Clawback Request”), the obligations of the Receiving Parties
7                 are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B), including
8                 immediately sequestering the document and shall not review or use that
9                 document, or any work product containing information taken from that
10                document, for any purpose. The Parties shall meet and confer regarding
11                any Clawback Request. This provision is not intended to modify whatever
12                procedure may be established in an e-discovery order that provides for
13                production without prior privilege review. Pursuant to Federal Rule of
14                Evidence 502(d) and (e), insofar as the Parties reach an agreement on the
15                effect of disclosure of a communication or information covered by the
16                attorney-client privilege or work product protection, the Parties may
17                incorporate their agreement in the Order submitted to the Court.
18   XIII.           MISCELLANEOUS
19           A.      Right to Further Relief
20           Nothing in this Order abridges the right of any person to seek its modification
21   by the Court in the future.
22           B.      Right to Assert Other Objections
23           By stipulating to the entry of this Order, no Party waives any right it
24   otherwise would have to object to disclosing or producing any information or item
25   on any ground not addressed in this Order. Similarly, no Party waives any right to
26   object on any ground to use in evidence of any of the material covered by this
27   Order.
28           C.      Filing Protected Material
                                                  -15-
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1          A Party that seeks to file under seal any Protected Material must comply with
2    Civil Local Rule 79-5. Protected Material may only be filed under seal pursuant to
3    a court order authorizing the sealing of the specific Protected Material at issue. If a
4    Party's request to file Protected Material under seal is denied by the Court, then the
5    Receiving Party may file the information in the public record unless otherwise
6    instructed by the Court.
7    XIV. FINAL DISPOSITION
8          After the final disposition of this Action, as defined in Section V, within sixty
9    (60) days of a written request by the Designating Party, each Receiving Party must
10   return all Protected Material to the Producing Party or destroy such material. As
11   used in this subdivision, “all Protected Material” includes all copies, abstracts,
12   compilations, summaries, and any other format reproducing or capturing any of the
13   Protected Material. Whether the Protected Material is returned or destroyed, the
14   Receiving Party must submit a written certification to the Producing Party (and, if
15   not the same person or entity, to the Designating Party) by the sixty-day (60-day)
16   deadline that (1) identifies (by category, where appropriate) all the Protected
17   Material that was returned or destroyed and (2) affirms that the Receiving Party has
18   not retained any copies, abstracts, compilations, summaries or any other format
19   reproducing or capturing any of the Protected Material. Notwithstanding this
20   provision, Counsel are entitled to retain an archival copy of all pleadings, motion
21   papers, trial, deposition, and hearing transcripts, legal memoranda, correspondence,
22   deposition and trial exhibits, expert reports, attorney work product, and consultant
23   and expert work product, even if such materials contain Protected Material. Any
24   such archival copies that contain or constitute Protected Material remain subject to
25   this Protective Order as set forth in Section V (Duration).
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1          Any violation of this Order may be punished by any and all appropriate
2    measures including, without limitation, contempt proceedings and/or monetary
3    sanctions.
4

5    IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD:
6

7    DATED: October 22, 2021                   BLAKELY LAW GROUP
8

9                                              By:   /s/ Brent Blakely
10                                                   Brent H. Blakely
                                                     Jamie Fountain
11                                                   Attorneys for Plaintiff
12                                                   Deckers Outdoor Corporation

13
     DATED: October 22, 2021                   ARENT FOX LLP
14

15
                                               By:   /s/ Allan E. Anderson
16                                                   Allan E. Anderson
17                                                   Attorneys for Defendant
                                                     Walmart, Inc.
18

19   DATED: October 22, 2021                   AMSTER, ROTHSTEIN &
                                               EBENSTEIN LLP
20

21                                             By:    Anthony F. Lo Cicero_________
22                                                   Anthony F. Lo Cicero (pro hac
                                                     vice)
23                                                    Marc J. Jason (pro hac vice)
24                                                    Richard S. Mandaro (pro hac vice)
                                                      Attorneys for Defendant
25                                                    Walmart, Inc
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1    FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.
2     DATED: 10/22/2021      /s/ CHARLES F. EICK
3
                               HONORABLE CHARLES F. EICK
4                              United States Magistrate Judge
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1                                           EXHIBIT A
2                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
3

4            I,                                [print or type full name], of
5                   [print or type full address], declare under penalty of perjury that I have
6    read in its entirety and understand the Stipulated Protective Order that was issue by
7    the United States District Court for the Central District of California on
8    _____________[DATE] in the case of                                            [insert
9    formal name of the case and the number and initials assigned to it by the Court]. I
10   agree to comply with and to be bound by all the terms of this Stipulated Protective
11   Order and I understand and acknowledge that failure to so comply could expose me
12   to sanctions and punishment in the nature of contempt. I solemnly promise that I
13   will not disclose in any manner any information or item that is subject to this
14   Stipulated Protective Order to any person or entity except in strict compliance with
15   the provisions of this Order.
16           I further agree to submit to the jurisdiction of the United States District Court
17   for the Central District of California for the purpose of enforcing the terms of this
18   Stipulated Protective Order, even if such enforcement proceedings occur after
19   termination of this action.
20   Date:
21   City and State where sworn and signed:
22   Printed Name:
23   Signature:
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